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                         3
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                              Receivable Fund, LP
                         9

                       10                      IN THE UNITED STATES BANKRUPTCY COURT
                       11                                FOR THE DISTRICT OF NEVADA
                       12      In re:                                         Case No. 21-14486-abl
                       13      INFINITY CAPITAL MANAGEMENT, INC.              Chapter 7
                               dba INFINITY HEALTH CONNECTIONS,
                       14
                                                   Debtor.
                       15
                               HASELECT-MEDICAL RECEIVABLES                   Adversary Case No. 21-01167-abl
                       16      LITIGATION FINANCE FUND
                               INTERNATIONAL SP,                                DECLARATION OF JARED M.
                       17                                                      SECHRIST, ESQ. IN SUPPORT OF
                                                    Plaintiff,
                                                                                 MOTION TO WITHDRAW AS
                       18      v.                                                     COUNSEL FOR
                                                                                  DEFENDANT/COUNTER-
                       19      TECUMSEH–INFINITY MEDICAL
                               RECEIVABLES FUND, LP,                          DEFENDANT TECUMSEH–INFINITY
                                                                               MEDICAL RECEIVABLE FUND, LP
                       20                          Defendant.
                       21      HASELECT-MEDICAL RECEIVABLES
                               LITIGATION FINANCE FUND
                       22      INTERNATIONAL SP, et al.,                      Hearing Date: May 14, 2024
                       23                           Counter-Claimant,         Time: 10:00 A.M.

                       24      v.
                               TECUMSEH–INFINITY MEDICAL
                       25
                               RECEIVABLES FUND, LP, et. al.,
                       26                           Counter-Defendants.
                       27

                       28
 Garman Turner Gordon
     Attorneys at Law
7251 Amigo Street, Ste. 210
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                         1            DECLARATION OF JARED M. SECHRIST, ESQ. IN SUPPORT OF MOTION
                                    TO WITHDRAW AS COUNSEL FOR DEFENDANT/COUNTER-DEFENDANT
                         2                TECUMSEH–INFINITY MEDICAL RECEIVABLE FUND, LP
                         3           I, Jared M. Sechrist, make this Declaration under 28 U.S.C. § 1746 and state as follows:

                         4           1.      I am more than 21 years old, and I have never been convicted of a felony or of any

                         5    crime involving moral turpitude.

                         6           2.      I am fully competent to make this Declaration, and all of the facts set forth herein

                         7    are based on my personal knowledge and are true and correct.

                         8           3.      I am an attorney in the law firm of Garman Turner Gordon LLP (“GTG”), counsel

                         9    for Defendant/Counter-defendant Tecumseh–Infinity Medical Receivable Fund, LP (“Tecumseh”

                       10     and “Defendant”). I make this declaration in support of the Motion to Withdraw as Counsel for

                       11     Defendant/Counter-Defendant Tecumseh–Infinity Medical Receivable Fund, LP [ECF No. 293] I

                       12     have personal knowledge of the facts set forth herein, and if called upon to testify as to the content

                       13     of this Declaration, I could and would do so.

                       14            4.      On or about December 8, 2021, GTG was retained by Tecumseh in connection with

                       15     above-captioned case.

                       16            5.      As set forth in the retention letter agreement (“Agreement”) between Defendant

                       17     and GTG, the scope of GTG’s employment was to provide legal counsel “… in association with

                       18     Akerman LLP, Tecumseh-Infinity Medical Receivables Fund, LP, C/O Tecumseh Alternatives,

                       19     LLC (“you,” “your,” or the “Client”) in the Chapter 7 proceedings regarding Infinity Capital

                       20     Management, Inc. dba Infinity Health Connections being Case No. 21-14486-abl pending before

                       21     the United States Bankruptcy Court for the District of Nevada (the “Bankruptcy Case”)”.

                       22            6.      Since the conclusion of the trial, GTG’s relationship with Tecumseh has

                       23     deteriorated, including Tecumseh’s failure to pay GTG’s outstanding invoices.

                       24     ///

                       25     ///

                       26     ///

                       27     ///

                       28     ///
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                         1           7.       GTG’s relationship with Tecumseh is no longer a functional attorney/client

                         2    relationship.

                         3           I declare under penalty of perjury of the laws of the United States of America that the

                         4    foregoing statements are true to the best of my knowledge and belief.

                         5           DATED this 9th day of April 2024.

                         6
                                                                           /s/ Jared M. Sechrist
                         7                                                JARED M. SECHRIST

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